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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                           )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                          )            Civil Action No. 4:18-cv-01547
                                           )
                                           )
                           Plaintiff,      )
                                           )
        v.                                 )
                                           )
MICHAEL K. YOUNG, in his official capacity )
as President of Texas A&M University,      )
                                           )
                           Defendant.      )
                                           )
                                           )



                                    JOINT STATUS REPORT

        Pursuant to the court’s March 5, 2019 order, the parties hereby jointly report on the status

of this matter:

        1.        On February 27, 2019, Plaintiff People for the Ethical Treatment of Animals, Inc.

(“PETA”) served its responses to the defendant Texas A&M’s (TAMU) discovery. PETA has

produced responsive documents on a rolling basis. On March 5, 2019, PETA produced the first

set of documents responsive to TAMU’s requests for production. On March 6, 2019, PETA

produced the second set of documents responsive to TAMU’s requests for production. On March

13, 2019, PETA produced the third set of records responsive to TAMU’s requests for production.

PETA produced the fourth and final set of records on March 15, 2019. Defendant’s review of

those documents is ongoing. TAMU requests additional time to review Plaintiff’s discovery

responses and production, and to resolve any issues with PETA concerning deficiencies in

Plaintiff’s production.
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       2.      The parties have discussed and continue to consider the possibility of mediation.

       3.      PETA is prepared to move for summary judgment and intends, barring the court’s

objection, to file such a motion soon. PETA believes that the material issues of fact have been

established or admitted to, and that cross-motions for summary judgment are the best way of

bringing this case to resolution. In so stating this preference, PETA does not waive its right to

conduct discovery should that process continue. TAMU disagrees with PETA’s position that this

case is ripe for summary judgment. Given the status of discovery, TAMU believes that a motion

for summary judgment would be premature and is likely to oppose any such motion on that basis.


       Dated: March 15, 2019                Respectfully submitted,

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                               ANIMALS, INC.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 15, 2019, a true and correct copy of the foregoing was served
via the Court’s electronic filing service upon all counsel of record


                                                  /s/ María Amelia Calaf
                                                  María Amelia Calaf




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